                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF IOWA
                                WESTERN DIVISION

    UNITED STATES OF AMERICA,
                   Plaintiff,                             No. CR05-4124-DEO
    vs.                                         REPORT AND RECOMMNEDATION
                                                   ON PETITION TO REVOKE
    BRENT KELEHER,
                                                    SUPERVISED RELEASE
                   Defendant.
                                  ____________________



           This case is before me on a petition (Doc. No. 84)1 to revoke defendant Brent
Keleher’s supervised release filed on December 12, 2012. The Honorable Donald E.
O’Brien referred this matter to me for the issuance of a report and recommended
disposition (Doc. No. 93). I held a hearing on December 18, 2012. Plaintiff (the
Government) was represented by Assistant United States Attorney Jack Lammers.
Keleher appeared in person with his attorney, Assistant Federal Public Defender Max
Wolson. United States Probation Officer Nick O’Brien was also present. Neither party
offered the testimony of any witnesses.


                                     I. BACKGROUND
           On October 24, 2006, Keleher was sentenced to 70 months of incarceration and
four years of supervised release after pleading guilty to a charge of conspiracy to
distribute 50 grams or more of methamphetamine mixture.              Doc. No. 69.       After
completing his federal prison term, Keleher began serving his term of supervised
release (TSR) on March 5, 2010.

1
 A Supplemental and Substituted Petition (Doc. No. 95) was filed on December 18, 2012.
Neither party objected to using the supplemental petition as the final version in this matter.


          Case 5:05-cr-04124-DEO-LTS    Document 97       Filed 12/19/12    Page 1 of 9
       The petition to revoke Keleher’s TSR itemizes eight alleged violations beginning
on November 6, 2012. Keleher admits all eight. They include failure to report change
in employment, use of a controlled substance on multiple occasions (including six
occasions between November and December 2012), failure to comply with drug testing,
failure to truthfully answer inquiries and failure to maintain employment.
       Keleher’s TSR has previously been modified twice. On November 8, 2012, it
was modified to require that he serve two consecutive weekends in jail, undergo an
updated substance abuse assessment, participate in recommended substance abuse
treatment and actively job seek. On November 20, 2012, Keleher signed a waiver of
hearing to include an additional weekend in jail. This modification was approved by
Judge O’Brien on November 21, 2012. Since fulfilling the latest modification, a drug
test has come back presumptive positive for amphetamines and Keleher has admitted to
use of methamphetamine during another drug screen.


                                    II. ANALYSIS
       “A district court may revoke supervised release if it ‘finds by a preponderance of
the evidence that the defendant violated a condition of supervised release.’” United
States v. Holt, 664 F.3d 1147, 1149 (8th Cir. 2011) (quoting 18 U.S.C. § 3583(e)(3)).
The court’s finding that a defendant has violated the conditions of supervised release is
reviewed for clear error, while an order of revocation based on such a finding is
reviewed for abuse of discretion. United States v. Carothers, 337 F.3d 1017, 1019 (8th
Cir. 2003).
       At the hearing, Keleher admitted to all violations alleged in the supplemental and
substituted petition.   Accordingly, I find by a preponderance of the evidence that
Keleher violated the terms and conditions of his supervised release. Having so found,
18 U.S.C. § 3583(e) requires that I consider certain specified factors set forth in 18
U.S.C. § 3553(a), in making a determination as to whether Keleher’s term of
supervised release should be terminated, extended, modified, or revoked. Although I
                                           2

    Case 5:05-cr-04124-DEO-LTS        Document 97      Filed 12/19/12   Page 2 of 9
am not required to cite each relevant factor in § 3553(a), see United States v. Franklin,
397 F.3d 604, 607 (8th Cir. 2005), those factors are set forth below for the
convenience of the district court in reviewing this Report and Recommendation:
      The court, in determining the particular sentence to be imposed, shall
      consider –
             (1) the nature and circumstances of the offense and the
             history and characteristics of the defendant;
             (2) the need for the sentence imposed –
                    (A) to reflect the seriousness of the offense, to
                    promote respect for the law, and to provide just
                    punishment for the offense;
                    (B) to afford adequate deterrence to criminal
                    conduct;
                    (C) to protect the public from further crimes
                    of the defendant; and

                    (D) to provide the defendant with needed
                    educational or vocational training, medical
                    care, or other correctional treatment in the
                    most effective manner;
                                          ....
             (4) the kinds of sentence and the sentencing range
             established for –
                                         ....
                    (B) in the case of a violation of probation or
                    supervised release, the applicable guidelines or policy
                    statements issued by the Sentencing Commission
                    pursuant to section 994(a)(3) of title 28, United States
                    Code, taking into account any amendments made to
                    such guidelines or policy statements by act of
                    Congress (regardless of whether such amendments
                    have yet to be incorporated by the Sentencing
                    Commission into amendments issued under section
                    994(p) of title 28);
             (5) any pertinent policy statement –

                                            3

    Case 5:05-cr-04124-DEO-LTS        Document 97      Filed 12/19/12    Page 3 of 9
                    (A) issued by the Sentencing Commission pursuant to
                    section 994(a)(2) of title 28, United States Code,
                    subject to any amendments made to such policy
                    statement by act of Congress (regardless of whether
                    such amendments have yet to be incorporated by the
                    Sentencing Commission into amendments issued
                    under section 994(p) of title 28); and
                    (B) that, except as provided in section 3742(g), is in
                    effect on the date the defendant is sentenced[;]
             (6) the need to avoid unwarranted sentence disparities
             among defendants with similar records who have been found
             guilty of similar conduct; and
             (7) the need to provide restitution to any victims of the
             offense.
18 U.S.C. § 3553(a) (as referenced in 18 U.S.C. § 3583(e)). After considering these
factors, I may terminate, extend, revoke, or modify the term of supervised release as
set forth in § 3583(e). Revocation is mandatory in this case pursuant to 18 U.S.C. §
3583(g) because Keleher’s admitted violations include testing positive for illegal
controlled substances more than three times over the course of one year.
      Probation recommends that Keleher’s term of supervised release be revoked, that
Keleher be sentenced to time served and that the existing terms of his TSR be re-
imposed and modified with the following additional terms:
             (a) Inpatient treatment for substance abuse at Synergy Center
             in Cherokee, Iowa, upon the next available opening. It is
             anticipated an opening will be available on January 7, 2013,
             if not sooner.
             (b) Following treatment, Keleher must reside in a
             Residential Reentry Center (RRC) for a period of up to 120
             days. He must report to the RRC at a time and date to be
             determined by the Bureau of Prisons, the RRC and the U.S.
             Probation Office.
             (c) While placement is pending at a RRC, Keleher will be
             placed on home detention with electronic monitoring.


                                           4

    Case 5:05-cr-04124-DEO-LTS        Document 97      Filed 12/19/12    Page 4 of 9
At the hearing, neither party objected to the recommendation.        I will consider the
recommendation in light of the factors set forth in 18 U.S.C. § 3553(a).

A.      Nature and circumstances of offense, and Keleher’s history and characteristics
        Keleher’s original offense was conspiracy to distribute 50 grams or more of
methamphetamine mixture. The nature of the offense and the length of Keleher’s
federal sentence indicate that the crime was serious.
        Keleher seems to have relapsed back into substance abuse. He was placed at a
RRC through the Bureau of Prisons on September 9, 2009, and was not required to
participate in substance abuse treatment at that time.      He transferred to the home
confinement portion of the RRC on October 27, 2009, and resided with his mother.
During this time, Keleher maintained employment. He was released from RRC home
confinement and BOP custody on March 10, 2010, and while being supervised, he
participated in a substance abuse evaluation at Jackson Recovery Centers in Sioux City,
Iowa.     He enrolled in recommended substance abuse sessions and successfully
completed the program at Jackson Recovery Center.
        In August 2010, Keleher’s father passed away. His probation officer reported
Keleher had established a close relationship with his father upon release from prison
and that despite the difficulties from that loss, Keleher continued to comply with the
conditions of his supervised release. In June 2012, Keleher was terminated from his
job. He found work again for the month of October 2012, but was also terminated
from that job. He began testing positive for methamphetamine in November 2012. He
began attending substance abuse treatment sessions again and working out of a
substance abuse journal for relapse prevention. Keleher has continued to test positive
for methamphetamine since he began these sessions with the most recent admitted use
on December 11, 2012.




                                            5

     Case 5:05-cr-04124-DEO-LTS       Document 97       Filed 12/19/12     Page 5 of 9
B.    Deterrence of criminal conduct
      Any modification of supervised release imposed on Keleher must “afford
adequate deterrence to criminal conduct.” 18 U.S.C. § 3553(a)(2)(B). Although many
of the violations here constitute the most serious grade of violation and the guideline
range of imprisonment for these violations of supervised release is 6 to 12 months, I
find that imprisonment beyond time served is not necessary to deter further criminal
conduct by Keleher. Rather, I find that the recommendation of inpatient treatment
followed by placement in a RRC will provide a sufficient deterrent.

C.    Protection of the Public from Further Crimes
      Any modification of Keleher’s term of supervised release must protect the public
from further crimes. 18 U.S.C. § 3553(a)(2)(C). Keleher is not accused of committing
further crimes while on supervised release. I find that a sentence of time served, along
with inpatient treatment and placement in a RRC, is sufficient to protect the public from
further crimes.

D.    Defendant’s Need for Educational or Vocational Training, Medical Care, or
      Other Correctional Treatment in the Most Effective Manner

      Probation recommends that should Keleher be placed on home confinement with
electronic monitoring while waiting for placement in a RRC, he should be allowed
leave to job seek in addition to attending treatment and drug screening appointments. I
find this to be a reasonable exception to this modification provision.

E.    Sentencing Considerations
      I am required to consider pertinent policy statements issued by the United States
Sentencing Commission in effect at the time of Keleher’s sentencing. 18 U.S.C. §
3553(a)(5). I find two such policy statements to be relevant to this inquiry. The first,
Classification of Violations, U.S.S.G. § 7B1.1 (Policy Statement), sets forth three
grades of supervised release violations. The most serious of Keleher’s violations is a
                                            6

     Case 5:05-cr-04124-DEO-LTS        Document 97      Filed 12/19/12   Page 6 of 9
Grade C violation, which consists of “conduct constituting (A) a federal, state, or local
offense punishable by a term of imprisonment of one year or less; or (B) a violation of
any other condition of supervision.”       Having so found, the court looks to the
Sentencing Commission’s instructions upon a finding of a Grade C violation: “Upon a
finding of a Grade C violation, the court may (A) revoke probation or supervised
release; or (B) extend the term of probation or supervised release and/or modify the
conditions of supervision.”    U.S.S.G. § 7B1.3(a)(2), Revocation of Probation or
Supervised Release (Policy Statement). Based on his Criminal History Category of IV,
Keleher’s recommended range of imprisonment pursuant to the Sentencing Guidelines
is 6 to 12 months, with a maximum statutory imprisonment of three years.               See
U.S.S.G. § 7B1.4 (Policy Statement); 18 U.S.C. § 3583(e)(3).

F.    Sentencing Disparities
      The final consideration is whether my recommended disposition will result in
“unwarranted sentence disparities among defendants with similar records who have
been found guilty of similar conduct[.]” 18 U.S.C. § 3553(a)(6). I find it will not.

G.    Recommendation
      The Eighth Circuit has
      required that courts consider the policy statements in Chapter 7 [of the
      Sentencing Guidelines] when sentencing a violator of supervised release
      and [has] concluded that the suggested ranges in U.S.S.G. § 7B1.4(a) are
      only advisory. There are “no binding guidelines addressing the sentence
      for a violation of a condition of supervised release, only a policy
      statement about a court’s options in such a situation.”

United States v. White Face, 383 F.3d 733, 738 (8th Cir. 2004) (citation omitted)
(quoting United States v. Oliver, 931 F.2d 463, 465 (8th Cir. 1991)).         Failure to
provide written reasons for sentencing outside the applicable policy statement range for
revocation sentences is not reversible error, although written statements of reasons are
helpful for the parties, reviewing courts, and the Sentencing Commission. Id. at 739;
                                           7

     Case 5:05-cr-04124-DEO-LTS       Document 97      Filed 12/19/12   Page 7 of 9
accord United States v. Jones, 973 F.2d 605, 607-08 (8th Cir. 1992) (“Because the
Chapter 7 policy statements are not binding, the court is not required to make the
explicit, detailed findings required when it departs upward from a binding guideline.”).
“The district court is free to depart from Chapter 7’s suggested sentences when, in its
considered discretion, such a departure is warranted.” United States v. Carr, 66 F.3d
981, 983 (8th Cir. 1995) (per curiam); accord United States v. Jasper, 338 F.3d 865,
867 (8th Cir. 2003).
      I have given careful consideration to the factors set forth in 18 U.S.C. § 3553(a),
and hereby recommend that Keleher’s TSR be revoked and that he be sentenced to time
served. I further recommend that the terms of Keleher’s TSR be re-imposed and that
they be modified to include:
             (a) Inpatient treatment for substance abuse at Synergy Center
             in Cherokee, Iowa, upon the next available opening. It is
             anticipated an opening will be available on January 7, 2013,
             if not sooner.
             (b) Following treatment, Keleher must reside in a
             Residential Reentry Center (RRC) for a period of up to 120
             days. He must report to the RRC at a time and date to be
             determined by the Bureau of Prisons, the RRC and the U.S.
             Probation Office.
             (c) While placement is pending at a RRC, Keleher will be
             placed on home detention with electronic monitoring.
      In light of the foregoing, I find that revocation with a sentence of time served,
along with the modifications described above, will further the goals of deterrence and
incapacitation, reflects the seriousness of Keleher’s conduct, and provides just
punishment for such conduct.     Such a sentence is “sufficient, but not greater than
necessary, to comply with” the sentence’s purposes as set forth in § 3553(a)(2). See 18
U.S.C. § 3553(a).




                                           8

    Case 5:05-cr-04124-DEO-LTS        Document 97     Filed 12/19/12    Page 8 of 9
                                    III. CONCLUSION
       Based upon the foregoing analysis, IT IS RESPECTFULLY RECOMMENDED
that the Government’s motion to revoke Keleher’s supervised release be granted, that
Keleher be sentenced to time served, and that the existing terms of Keleher’s TSR be
re-imposed and modified consistent with the above report.2
       Objections3 must be filed by January 2, 2013. Responses to objections must be
filed by January 16, 2013. However, I urge the parties to file any objections and
responses as soon as possible to allow Judge O’Brien to issue a final ruling promptly.
       IT IS SO ORDERED.
       DATED this 19th day of December, 2012.




                                           ________________________________
                                           LEONARD T. STRAND
                                           UNITED STATES MAGISTRATE JUDGE
                                           NORTHERN DISTRICT OF IOWA




2
  Pursuant to Federal Rule of Criminal Procedure 32.1(a)(6), I ordered Keleher to be detained
after the December 18, 2012, hearing. Unless Judge O’Brien orders otherwise, he will be
detained until an opening is available at Synergy Center in Cherokee, Iowa.
3
 Objections must specify the parts of the report and recommendation to which objections are
made, as well as the parts of the record forming the basis for the objections. See Fed. R. Civ.
P. 72; Fed. R. Crim. P. 59.


                                              9

    Case 5:05-cr-04124-DEO-LTS           Document 97      Filed 12/19/12     Page 9 of 9
